Case 1:17-cr-00232-EGS Document 261-3 Filed 10/07/20 Page 1 of 10




                        Exhibit B
       Case 1:17-cr-00232-EGS Document 261-3 Filed 10/07/20 Page 2 of 10




From: Smith, Hunter <hsmith@robbinsrussell.com>
Sent: Monday, May 11, 2020 4:58:26 PM
To: dcd_cmecf_cr@dcd.uscourts.gov <dcd_cmecf_cr@dcd.uscourts.gov>
Cc: sullivan_chambers@dcd.uscourts.gov <sullivan_chambers@dcd.uscourts.gov>; Emmet_G_Sullivan@
dcd.uscourts.gov <Emmet_G_Sullivan@dcd.uscourts.gov>; sidney@federalappeals.com <sidney@federa
lappeals.com>; jocelyn.ballantine2@usdoj.gov <jocelyn.ballantine2@usdoj.gov>; Robbins, Larry
<lrobbins@robbinsrussell.com>; Taylor, William W. <wtaylor@zuckerman.com>; Marcus, Ezra
<EMarcus@zuckerman.com>; Friedman, Lee <LFriedman@robbinsrussell.com>
Subject: United States v. Flynn, Crim. No. 17-232


To the Clerk of Court:



Please see the attached filing on behalf of proposed amici in the above-captioned case.



Sincerely,



HUNTER SMITH

2000 K Street NW, 4th Floor, Washington, DC 20006

P 202.775.4523    F 202.775.4510

hsmith@robbinsrussell.com
www.robbinsrussell.com
        Case 1:17-cr-00232-EGS Document 261-3 Filed 10/07/20 Page 3 of 10




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



    UNITED STATES OF AMERICA



                v.                                 Crim. No. 17-232 (EGS)


    MICHAEL T. FLYNN,

                               Defendant.



              NOTICE OF INTENT OF WATERGATE PROSECUTORS
       TO FILE MOTION FOR LEAVE TO FILE BRIEF AS AMICUS CURIAE OR
                   APPLICATION UNDER LOCAL RULE 57.6

        On May 7, 2020, the Government filed a Motion to Dismiss the Criminal Information

Against the Defendant Michael T. Flynn (DE # 198) (“Motion”). A group of 16 former members

of the Watergate Special Prosecution Force of the Department of Justice, 1 through the undersigned

counsel, hereby provides notice of its intent to file a motion for leave to file a brief as amicus

curiae, other appropriate application (see Local Rule Crim. P. 57.6), or both. The Watergate

Prosecutors intend to address, without limitation, the scope of this Court’s authority to decide the

Motion; the procedures that the Court can and should follow, such as conducting a hearing or

potentially appointing counsel to assist the Court; whether a dismissal, if any, should be with or




1
 The Watergate Prosecutors are: Nick Akerman, Richard Ben-Veniste, Richard J. Davis, Carl B.
Feldbaum, George T. Frampton, Jr., Kenneth S. Geller, Gerald Goldman, Stephen E. Haberfeld,
Henry L. Hecht, Paul R. Hoeber, Philip Allen Lacovara, Paul R. Michel, Robert L. Palmer, Frank
Tuerkheimer, Jill Wine-Banks, and Roger Witten. Their qualifications and interest in this matter
are summarized in an attachment to this notice.
       Case 1:17-cr-00232-EGS Document 261-3 Filed 10/07/20 Page 4 of 10




without prejudice; and whether the Court should instead deny the Motion and proceed to

sentencing.

        The Motion raises serious questions concerning this Court’s authority under Federal Rule

of Criminal Procedure 48(a) and Article III of the United States Constitution, and the Court will

not receive a full, fair, and adverse presentation of these issues from the parties in light of the

Government’s change in position. The Government’s position is that, even at this late stage, after

a pair of guilty pleas accepted by court order, and the Court’s fulfillment of its responsibilities

under Federal Rule of Criminal Procedure 11, it may freely dismiss this prosecution so long as the

Defendant consents. Motion at 11. The government admonishes the Court not to “second-guess”

its determination that dismissal is in the public interest. Id.

        But the D.C. Circuit has explained, in a decision that the Government fails to cite, that

“considerations[] other than protection of [the] defendant . . . have been taken into account by

courts” when evaluating consented-to dismissal motions under Rule 48(a). United States v.

Ammidown, 497 F.2d 615, 620 (D.C. Cir. 1973). Courts have exercised their authority under Rule

48(a) where “it appears that the assigned reason for the dismissal has no basis in fact.” Id. at 620–

21. Even when the Government represents that the evidence is not sufficient to warrant

prosecution, courts have sought to “satisf[y]” themselves that there has been “a considered

judgment” and “an application [for dismissal] made in good faith.” Id. at 620.

        Other Circuits have similarly held that a court may investigate, including through hearings

if necessary, whether “the prosecutor is motivated by considerations clearly contrary to the

manifest public interest.” United States v. Hamm, 659 F.2d 624, 628 (5th Cir. 1981); see In re

Richards, 213 F.3d 773, 789 (3d Cir. 2000) (holding that district court could hold hearing to

“appropriately inquire into whether there were any improprieties attending the Government’s



                                                   2
       Case 1:17-cr-00232-EGS Document 261-3 Filed 10/07/20 Page 5 of 10




petition to dismiss the Richards’s prosecution.”); United States v. Cowan, 524 F.2d 504, 513 (5th

Cir. 1975) (“[I]t seems altogether proper to say that the phrase ‘by leave of court’ in Rule 48(a)

was intended to modify and condition the absolute power of the Executive, consistently with the

Framers’ concept of Separation of Powers, by erecting a check on the abuse of Executive

prerogatives.”). The Supreme Court has recognized uncertainty as to the scope of a district court’s

discretion in ruling on a consented-to motion under Rule 48(a) and has declined to resolve the

issue. Rinaldi v. United States, 434 U.S. 22, 29 n.15 (1977). There are at least substantial questions

as to whether factual representations in the Motion are accurate and whether the Motion is made

in good faith and consistent with the public interest. See, e.g., Mary B. McCord, Bill Barr Twisted

My Words in Dropping the Flynn Case. Here’s the Truth, N.Y. Times, May 10, 2020,

https://nyti.ms/3cj25kB;    DOJ     Alumni    Statement     on   Flynn    Case,    May    11,    2020,

https://bit.ly/2YR2kzu.

       The Government’s Motion also does not adequately address questions of this Court’s

heightened Article III role in light of the posture of this case, with the Defendant having pled guilty

and awaiting sentencing. A guilty plea represents a turning point between “the Executive’s

traditional power over charging decisions and the Judiciary’s traditional authority over sentencing

decisions.” United States v. Fokker Servs. B.V., 818 F.3d 733, 746 (D.C. Cir. 2016). When a court

accepts a plea agreement, it “enters a judgment of conviction, which in turn carries immediate

sentencing implications.” Id.; see also United States v. Hector, 577 F.3d 1099, 1100 n.1 (9th Cir.

2009) (“[O]nce a guilty plea has been accepted, the defendant stands convicted.”); United States

v. Brayboy, 806 F. Supp. 1576, 1580 (S.D. Fla. 1992) (holding that government’s post-verdict Rule

48(a) motion was an attempt to “remove this Court’s sentencing authority” and “is exactly th[e]




                                                  3
          Case 1:17-cr-00232-EGS Document 261-3 Filed 10/07/20 Page 6 of 10




type of absolute control by one branch over a power properly vested with another branch that the

constitutional scheme of separation of powers prohibits”).

          No party before the Court will address the question whether the Government’s proffered

reasons for dismissal have a “basis in fact,” Ammidown, 497 F.2d at 621, or other reasons that may

lead the Court to conclude that it should not grant the Motion. The Watergate Prosecutors, for

reasons set forth in the accompanying Statement of Interest, are uniquely suited to help ensure a

fair presentation of the issues raised by the Government’s Motion, which include, without

limitation, the accuracy of the facts and law presented in the Motion, the significance of the

Defendant’s prior admissions of guilt and this Court’s orders to date, the Trump administration’s

opposition to the prosecution of the Defendant, and whether the Government’s change of position

reflects improper political influence undermining determinations made by the Special Counsel’s

Office.

          This Court is fully empowered to obtain guidance from amici or otherwise. See United

States v. Microsoft Corp., 2002 WL 319366, at *1 (D.D.C. Feb. 28, 2002). “Amicus participation

is normally appropriate . . . ‘when the amicus has unique information or perspective that can help

the court beyond the help that the lawyers for the parties are able to provide.’” Hard Drive Prods.,

Inc. v. Does 1-1,495, 892 F. Supp. 2d 334, 337 (D.D.C. 2012) (quoting Jin v. Ministry of State

Sec., 557 F. Supp. 2d 131, 137 (D.D.C. 2008)); see also United States v. Arpaio, 887 F.3d 979,

981-82 (9th Cir. 2018) (recognizing in context of contempt proceedings the “inherent authority”

of courts to appoint amici to provide full briefing and argument in defense of position abandoned

by the United States).

          The Watergate Prosecutors propose to file their motion for leave to file an amicus curiae

brief or application under Local Rule 57.6, along with a proposed brief, by no later than May 21,



                                                  4
       Case 1:17-cr-00232-EGS Document 261-3 Filed 10/07/20 Page 7 of 10




2020, the date on which a response to the Government’s Motion would ordinarily be due. See

Local Rule Crim. P. 47(b).

Dated: May 11, 2020                               Respectfully submitted,


/s/ Lawrence S. Robbins                           /s/ William W. Taylor, III
Lawrence S. Robbins (D.C. Bar No. 420260)         William W. Taylor, III (D.C. Bar No. 84194)
Lee Turner Friedman (D.C. Bar No. 1028444)        Ezra B. Marcus (D.C. Bar No. 252685)
D. Hunter Smith (D.C. Bar No. 1035055)            ZUCKERMAN SPAEDER LLP
ROBBINS, RUSSELL, ENGLERT,                        1800 M Street N.W. Suite 1000
ORSECK, UNTEREINER & SAUBER LLP                   Washington, D.C. 20036
2000 K Street, NW                                 Tel: (202) 778-1800
Washington, DC 20006                              Fax: (202) 822-8106
Tel: (202) 775-4500                               wtaylor@zuckerman.com
lrobbins@robbinsrussell.com




                                             5
        Case 1:17-cr-00232-EGS Document 261-3 Filed 10/07/20 Page 8 of 10




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



    UNITED STATES OF AMERICA



                v.                                   Crim. No. 17-232 (EGS)


    MICHAEL T. FLYNN,

                               Defendant.


                                STATEMENT OF INTEREST

        Proposed Amici Curiae (“Amici”) served on the Watergate Special Prosecution Force,

which investigated the Watergate scandal between 1973 and 1977. Amici are: Nick Akerman,

Richard Ben-Veniste, Richard J. Davis, Carl B. Feldbaum, George T. Frampton, Jr., Kenneth S.

Geller, Gerald Goldman, Stephen E. Haberfeld, Henry L. Hecht, Paul R. Hoeber, Philip Allen

Lacovara, Paul R. Michel, Robert L. Palmer, Frank Tuerkheimer, Jill Wine-Banks, and Roger

Witten. Amici have also held positions in government, in academia, and in private practice.

        In their roles as Watergate prosecutors, Amici investigated serious abuses of power by

President Richard M. Nixon and prosecuted many of President Nixon’s aides for their complicity

in his offenses. More than any other episode in modern American history, the Watergate scandal

exemplified how unchecked political influence in the Justice Department can corrode the public

trust. As Special Prosecutor Archibald Cox explained, his office was established to “restore

confidence, honor, and integrity in government.” 1



1
  George Lardner, Jr., Cox Is Chosen as Special Prosecutor, THE WASHINGTON POST (May 19, 1973),
https://www.washingtonpost.com/wp-srv/national/longterm/watergate/articles/051973-1.htm.
       Case 1:17-cr-00232-EGS Document 261-3 Filed 10/07/20 Page 9 of 10




       The investigations by the Watergate Prosecutors led to the filing of criminal charges against

two former Attorneys General for corruptly abusing their official powers in order to interfere with

the objective, professional investigation and prosecution of federal crimes. Moreover, during their

work in pursuing investigation of obstruction of justice by a number of senior federal officials,

including White House officials, Amici experienced the “Saturday Night Massacre,” during which

an honorable Attorney General and an honorable Deputy Attorney General resigned or were

dismissed rather than obey the instructions of a self-interested President to frustrate the work of an

independent Special Prosecutor. The parallels and the contrasts between the Watergate affair and

the present situation now before this Court make manifest that Amici have a direct and substantial

interest in the proper disposition of the pending Motion directed by the incumbent Attorney

General to protect a close ally of the President.

       Here, where the Motion seeks to reverse a prosecutorial judgment previously entrusted to

and made by Special Counsel, Robert Mueller, the value the Watergate Prosecutors’ unique

perspective on the need for independent scrutiny and oversight to ensure that crucial decisions

about prosecutions of high-ranking government officials are made in the public interest, are viewed

as legitimate, and are not subsequently reversed by political intervention. The integrity of

prosecutorial decision making is a cornerstone of the rule of law. Amici have a special interest in

restoring the public trust in prosecutorial decision making and in public confidence in the viability

of future independent investigations and prosecutions if the results of such work are likely to be

subjected to reversal by transparent political influence.




                                                    2
     Case 1:17-cr-00232-EGS Document 261-3 Filed 10/07/20 Page 10 of 10




Dated: May 11, 2020                        Respectfully submitted,


 /s/ Lawrence S. Robbins                 /s/ William W. Taylor, III
 Lawrence S. Robbins                     William W. Taylor, III (D.C. Bar No. 84194)
 Lee Turner Friedman                     Ezra B. Marcus (D.C. Bar No. 252685)
 D. Hunter Smith                         ZUCKERMAN SPAEDER LLP
 ROBBINS, RUSSELL, ENGLERT,              1800 M Street N.W. Suite 1000
 ORSECK, UNTEREINER & SAUBER LLP         Washington, D.C. 20036
 2000 K Street, NW                       Tel: (202) 778-1800
 Washington, DC 20006                    Fax: (202) 822-8106
 (202) 775-4500                          wtaylor@zuckerman.com
 lrobbins@robbinsrussell.com




                                     3
